Case 1:11-cr-00030-KAM-RER Document 597 Filed 11/25/11 Page 1 of 7 PageID #: 2473

                                           U.S. Department of Justice


                                           United States Attorney
                                           Eastern District of New York
  EAG:AL                                   271 Cadman Plaza East
  F.#2010R00153                            Brooklyn, New York 11201

                                           November 25, 2011

  By Hand Delivery and ECF

  The Honorable Kiyo A. Matsumoto
  United States District Judge
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

              Re:    United States v. Ali Juseinoski
                     Criminal Docket No. 11-30 (KAM)

  Dear Judge Matsumoto:

            The government respectfully submits this letter in
  anticipation of sentencing in the above-captioned case, which is
  scheduled for December 16, 2011. For the reasons set forth
  below, the government respectfully asks the Court to sentence the
  defendant within the advisory Guidelines range of 18 to 24
  months.

  I.    Background

            On January 12, 2011, a grand jury in the Eastern
  District of New York returned an indictment charging the
  defendant and thirty-eight others with a variety of offenses,
  including racketeering conspiracy, based on their leadership of,
  membership in and association with the Colombo organized crime
  family of La Cosa Nostra (the “Colombo family” and “LCN,”
  respectively). (Docket Entry No. 1.)

            In the indictment, the defendant was alleged to be an
  associate within the Colombo family, and he was charged in Count
  One with racketeering conspiracy, in violation of 18 U.S.C.
  § 1962(d), including marijuana distribution conspiracy
  (Racketeering Act (“RA”) 29) and extortionate collection of
  credit (RA 35). (Id. ¶¶ 16-18, 79, 92.) In addition, the
  defendant was charged in separate counts with the same marijuana
  distribution conspiracy (Count 33) and extortionate collection of
  credit (Count 43). (Id. ¶¶ 223, 235.)
Case 1:11-cr-00030-KAM-RER Document 597 Filed 11/25/11 Page 2 of 7 PageID #: 2474



            On July 13, 2011, the defendant pled guilty, pursuant
  to a plea agreement, to Count One and allocuted to Racketeering
  Acts 29 and 35. (Docket Entry No. 455; Presentence Investigation
  Report (“PSR”) ¶¶ 1-3.)

  II.   Discussion

            The government respectfully submits that, in this case,
  a sentence within the advisory Guidelines range is appropriate in
  light of all relevant factors, including the nature and
  characteristics of the offense and the need for the sentence to
  reflect the seriousness of the offense, to promote respect for
  the law, to provide just punishment, to afford adequate
  deterrence and to protect the public.

        A.    Legal Standard

            The Sentencing Guidelines are advisory, not mandatory.
  United States v. Booker, 125 S. Ct. 738, 764-65 (2005). However,
  the Supreme Court held in Booker that the sentencing court must
  consider the Guidelines in formulating an appropriate sentence.
  Id. In Gall v. United States, 552 U.S. 38 (2007), the Supreme
  Court set forth the procedure for sentencing courts to follow in
  light of Booker:

              [A] district court should begin all sentencing
              proceedings by correctly calculating the
              applicable Guidelines range. As a matter of
              administration   and   to  secure   nationwide
              consistency, the Guidelines should be the
              starting point and the initial benchmark.

  Gall, 552 U.S. at 49 (citation omitted). Next, a district court
  should “consider all of the § 3553(a) factors to determine
  whether they support the sentence requested by a party. In so
  doing, [the district court] may not presume that the Guidelines
  range is reasonable. [The district court] must make an
  individualized assessment based on the facts presented.” Id. at
  49-50 (citation and footnote omitted).




                                      -2-
Case 1:11-cr-00030-KAM-RER Document 597 Filed 11/25/11 Page 3 of 7 PageID #: 2475



        B.    The Guidelines Range Is 18 to 24 Months

            The advisory Guidelines range of imprisonment should be
  determined as follows:

  Count One (RICO Conspiracy)

        Racketeering Act Twenty-nine
        (Marijuana Distribution Conspiracy)

        Base Offense Level (§§ 2D1.1(a)(5) & (c)(12))               16

        Total:                                                      16

        Racketeering Act Thirty-five
        (Extortionate Collection of Credit)

        Base Offense Level (§ 2E2.1(a))                             20

        Total:                                                      20

  Multiple Racketeering Act Analysis (§ 3D1.4)

        Highest Adjusted Offense Level                              20
        Units:

              Racketeering Act Twenty-nine (§ 3D1.4(a))         1

              Racketeering Act Thirty-five (§ 3D1.4(a))         1

        Total Units:                                            2

        Levels Added:                                                2

  Adjusted Offense Level

        Adjusted Offense Level                                      22

        Less: Minor role (§ 3B1.2(b))                               -2

        Less: Acceptance of responsibility (§ 3E1.1(a))             -3

        Less: Global disposition (§ 5K2.0)                          -2

        Total:                                                      15




                                      -3-
Case 1:11-cr-00030-KAM-RER Document 597 Filed 11/25/11 Page 4 of 7 PageID #: 2476



            The defendant has no prior convictions, and is in
  Criminal History Category I. (PSR ¶¶ 51-52.) Therefore, the
  advisory Guidelines range of imprisonment is 18 to 24 months.
  This is consistent with the estimate set forth by the government
  in the plea agreement.

            The Probation Department agrees that the defendant is
  in Criminal History Category I, but it has determined that the
  total offense level is 19 and the advisory Guidelines range is 30
  to 37 months. (Id. ¶¶ 49, 52, 89.) The government’s and
  Probation Department’s determinations differ because (1) the
  government agrees to a two-level reduction based on a global
  disposition, and (2) the government believes that a two-level
  role reduction is warranted. The two-level reduction for a
  global disposition is warranted at this time because 28 of the 31
  covered defendants have pled guilty. The two-level role
  reduction is warranted because the defendant played a minor role
  in the racketeering conspiracy for which he was convicted.
  U.S.S.G. § 3B1.2(b).1

        C.    A Sentence Within the Guidelines Range Is
              Appropriate In This Case

            Based on the factors set forth in 18 U.S.C. § 3553(a),
  a sentence within the Guidelines range is appropriate in this
  case.

              1.   The Natures and Circumstances of the Offenses

            The Colombo family is a dangerous criminal enterprise
  that uses violence, including murder, to further its interests.
  (PSR ¶¶ 7-9.) The defendant has been convicted of racketeering
  conspiracy, including, as racketeering acts, extortionate
  collection of credit and marijuana distribution conspiracy, in



        1
            In addition, the Probation Department has assigned an
  offense level of 20 to Racketeering Act 29, to which the
  government assigns an offense level of 16. (PSR ¶¶ 29-34.)
  However, this difference does not affect the total adjusted
  offense level. In either case, this Racketeering Act is within
  four levels of Racketeering Act 35, which the Probation
  Department and government agree is assigned an offense level of
  20. Therefore, Racketeering Act 29 is assigned one “grouping”
  point pursuant to U.S.S.G. § 3D1.4(a), leading to an offense
  level of 22 prior to reductions for acceptance of responsibility,
  role and global disposition. (PSR ¶ 47; Plea Agreement ¶ 2.)

                                      -4-
Case 1:11-cr-00030-KAM-RER Document 597 Filed 11/25/11 Page 5 of 7 PageID #: 2477



  connection with the Colombo family. These are serious crimes
  that warrant a serious punishment. 18 U.S.C. § 3553(a)(1).

                   a.    Extortionate Collection of Credit

            The defendant, who had a reputation as an associate of
  the Colombo family, loaned approximately $3,500 to his victim.
  (PSR ¶ 10.) When the victim failed to make timely payments, the
  defendant sent an associate to have the victim sign over title to
  the victim’s Mercedes -- which was worth $60,000 -- to the
  defendant. (Id. ¶ 11.) The title was later returned to the
  victim. (Id.)

            It is clear that this was an extortion and that the
  victim had no choice but to repay the money or lose his car. The
  violent reputation of the Colombo family enabled the defendant to
  obtain payment by extortion, that is, through the credible threat
  of violence. Of course, debtors who do not own expensive cars
  often face a far more dire situation.

                   b.    Marijuana Distribution Conspiracy

            The defendant committed the crime of marijuana
  distribution conspiracy with Joseph Savarese and Anthony Russo
  between October 2009 and May 2010. (Id. ¶ 13.) In October 2009,
  Savarese and Russo were members of the Colombo family who had
  recently been released from lengthy terms of imprisonment. Russo
  subsequently served as a captain in that crime family. The
  defendant’s association with Savarese and Russo demonstrates his
  ability to commit crimes under the protection of the Colombo
  family and his access to the Colombo family’s reputation for --
  and ability to commit -- violence.

                                *      *      *

            In light of the foregoing, the government respectfully
  submits that the nature and circumstances of the offenses warrant
  a sentence within the advisory Guidelines range.

              2.   Reflecting the Seriousness of the Offense,
                   Promoting Respect for the Law and
                   Providing Just Punishment

            A sentencing within the advisory Guidelines range is
  necessary to reflect the seriousness of the offense, promote
  respect for the law and providing just punishment. 18 U.S.C.
  § 3553(a)(2)(A). As noted above, the defendant’s offenses --
  conspiring to distribute marijuana and committing extortion to

                                      -5-
Case 1:11-cr-00030-KAM-RER Document 597 Filed 11/25/11 Page 6 of 7 PageID #: 2478



  collect a debt -- are serious crimes that are critical to the
  success of organized crime families and that merit a serious
  punishment. A sentence below the advisory Guidelines range would
  therefore be insufficient to serve these important purposes of
  sentencing.

              3.   Affording Deterrence and Protecting the Public

            A sentence within the advisory Guidelines range is
  necessary to afford adequate deterrence to criminal conduct and
  to protect the public from further crimes of the defendant. 18
  U.S.C. § 3553(a)(2)(B) & (c).

            “Under section 3553(a)(2)(B), there are two major
  considerations: specific and general deterrence.” United States
  v. Davis, No. 08-CR-332 (JBW), 2010 WL 1221709, at *2 (E.D.N.Y.
  March 29, 2010). Both considerations support a Guidelines
  sentence. In addition to committing the crime of marijuana
  distribution conspiracy in this case, the defendant admitted to a
  cooperating witness that he had access to between 1,000 and 2,000
  pounds of marijuana in Arizona and that he had previously
  transported marijuana in quantities as great as 800 pounds. (Id.
  ¶¶ 16-17.) These admissions indicate that the defendant is a
  recidivist, and that a serious term of imprisonment is necessary
  in order to deter him from committing further crimes and to
  protect the public from his crimes.

            In addition, a sentence within the advisory Guidelines
  range is necessary to deter others who, like the defendant, are
  in a position to choose between a law-abiding life and a life of
  crime. According to the defendant’s wife, the defendant is
  involved in organized crime because he has maintained contact
  with certain people he grew up with. (PSR ¶ 62.)    The
  government respectfully submits that a sentence within the
  Guidelines range is necessary to deter people in the defendant’s
  position from committing crimes and, particularly, from getting
  involved in organized crime in the first instance.




                                      -6-
Case 1:11-cr-00030-KAM-RER Document 597 Filed 11/25/11 Page 7 of 7 PageID #: 2479



  III. Conclusion

            In this case, given all of the facts and circumstance
  discussed above, a sentence below the Guidelines range would not
  satisfy the statutory purposes of sentencing. Therefore, and for
  all of the foregoing reasons, the government respectfully submits
  that the Court should impose a sentence within the advisory
  Guidelines range of 18 to 24 months.


                                            Respectfully submitted,

                                            LORETTA E. LYNCH
                                            United States Attorney

                                     By:            /s/
                                            Elizabeth A. Geddes
                                            Allon Lifshitz
                                            Assistant U.S. Attorneys
                                            (718) 254-6430/6164

  cc:   Clerk of the Court (KAM) (by ECF)
        John S. Wallenstein, Esq. (by ECF and Federal Express)
        John L. Almanza, U.S. Probation Officer (by email)




                                      -7-
